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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

SOUTHWEST AIRLINES CO.,                            §
                                                   §
         Plaintiff,                                §
                                                   §
v.                                                 §   CIVIL ACTION NO. 3: 06-CV-0891-B
                                                   §
BOARDFIRST, L.L.C.,                                §
                                                   §
         Defendants.                               §


                                     AGREED FINAL JUDGMENT

         1.      On September 12, 2007, the Court granted Southwest’s Motion for Summary

Judgment on Southwest’s claim for breach of contract and on Southwest’s Motion for Summary

Judgment regarding BoardFirst’s counterclaim for tortious interference with customer relations.

The Court also granted Southwest’s request for a Permanent Injunction. Such ruling is deemed

final.

         2.      The parties have agreed to dismiss their remaining claims, and this Court has entered

an Agreed Order of Dismissal.

         3.      This Court has also entered an Agreed Permanent Injunction directing BoardFirst,

L.L.C. to shut down its website and prohibiting it from using southwest.com in any manner that

would violate the Terms and Conditions of use of the Southwest website.

         4.      Southwest is awarded its attorney’s fees incurred in connection with pursuing its

claim for breach of contract.

         5.      The Court denies all relief not granted in this Judgment.



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       6.      This is a FINAL JUDGMENT.

       SO ORDERED.

       Signed November 1, 2007



                                                _________________________________
                                                JANE J. BOYLE
                                                UNITED STATES DISTRICT JUDGE




AGREED AS TO FORM AND SUBSTANCE :



s/ Jonathan C. LaMendola
Jonathan C. LaMendola
Attorney for Plaintiff Southwest Airlines Co.


s/ with permission James O. Bell
James O. Bell
Attorney for Defendant BoardFirst, L.L.C.




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